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YEN PILCH ROBAINA & KRESIN PLC
6017 N. 15th Street

Phoenix, Arizona 85014

Telephone: (602) 682-6450

Ty D. Frankel (027179)

TDF rklaw.com

YEN PILCH ROBAINA & KRESIN PLC
9655 Granite Ridge Drive, Suite 200

San Diego, California 92123

Telephone: (619) 756-7748

Patricia N. Syverson (020191)

PNS@yprklaw.com

IN THE UNITED STATES DISTRICT COURT

DISTRICT OF ARIZONA

Deion Anthony, on behalf of himself and
all those similarly situated,

Plaintiff,
V.

Rise Services Inc. dba Rise Inc., an
Arizona corporation; and Rise Services

Inc., a Utah corporation,

Defendants.

 

 

 

 

Plaintiff Deion Anthony (“Plaintiff”),
situated, brings this action against Defendant Rise Services Inc. dba Rise Inc., an Arizona
corporation, and Defendant Rise Services Inc., a Utah corporation (both entities collectively
referred to as “Rise Services” or “Defendant”) for violations of the Fair Labor Standards
Act (“FLSA”), 29 U.S.C. §§ 201, et seg., Arizona wage laws, A.R.S. § 23-350, et seq.
(“Arizona Wage Statute”), A.R.S. 23-363 et seg. (“Arizona Minimum Wage Statute”), and

Case No.

COLLECTIVE ACTION AND CLASS
ACTION COMPLAINT

[Jury Trial Demanded]

on behalf of himself and all others similarly

the Arizona Employment Protection Act, A.R.S. § 23-1501.

 
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NATURE OF THE ACTION

1. Plaintiff alleges on behalf of himself and all other similarly situated Direct
Support Professionals of Defendant who elect to opt in to this action pursuant to the FLSA,
29 U.S.C. § 216(b) (the “Collective Action Members”) that they are entitled to unpaid wages
including unpaid minimum wage and overtime for all hours worked exceeding forty (40) in
a workweek, liquidated damages, and attorneys’ fees and costs, pursuant to the FLSA, 29
U.S.C. §§ 201, et seq., specifically 29 U.S.C. §§ 206, 207, 216(b).

2. Plaintiff further alleges, pursuant to Fed. R. Civ. P. 23, on behalf of himself
and a class of other similarly situated Direct Support Professionals employed by Defendant
within the State of Arizona (the “Arizona Class Members”), that they are entitled to timely
payment of all wages due, plus interest, treble damages, and penalties as allowed by the
Arizona Wage Statute, A.R.S. § 23-350, et seq., and that they are entitled to payment of the
minimum wage, plus interest, statutory damages, and penalties as allowed by the Arizona
Minimum Wage Statute, A.R.S. § 23-362, et seq.

3. Plaintiff further alleges, on his own behalf, pursuant to the FLSA, 29 U.S.C.
§§ 215(a)(3) and 216(b), that he is entitled to reinstatement, lost wages, and damages,
including liquidated damages, fees, and costs for Defendant’s unlawful retaliation against
him resulting from his complaints relating to unpaid overtime and minimum wage and his
statement that he would have the unpaid wage issues he complained about to management
resolved by the Department of Labor.

4. Plaintiff further alleges, on his own behalf, pursuant to the Arizona Minimum
Wage Statute, A.R.S. § 23-364, that he is entitled to damages in an amount not less than
one hundred fifty dollars ($150) for each day that the violation continued or until judgment
is final for Defendant’s unlawful retaliation against him resulting from his complaints
relating to unpaid minimum wage and his statement that he would have the unpaid wages
issues he complained about to management resolved by the Department of Labor.

5. Plaintiff further alleges, on his own behalf, pursuant to A.R.S. § 23-1501 of
the Arizona Employment Protection Act, that he is entitled to damages for past and future

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wage and benefit losses, economic disadvantages, mental pain, anguish, and suffering
caused by Defendant’s termination of Plaintiff in retaliation for raising violations of the
Arizona Wage Statute, A.R.S. § 23-350, and public policy of this State arising from
Defendant’s failure to timely pay all wages due.

JURISDICTION AND VENUE

6. The FLSA authorizes civil actions by private parties to recover damages for
violations of the FLSA’s wage and hour provisions. This Court has jurisdiction over
Plaintiff's FLSA claims pursuant to 29 U.S.C. § 216(b) and 28 U.S.C. § 1331.

7. This Court has supplemental jurisdiction over Plaintiff’s state law claims
pursuant to 28 U.S.C. § 1367 because they arise from the same case and controversy as the
FLSA claim. The state and federal claims derive from a common nucleus of operative fact,
the state law claims will not substantially dominate over the FLSA claims, and exercising
supplemental jurisdiction would be in the interests of judicial economy, convenience,
fairness, and comity.

8. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and (c)
because substantial decisions and events giving rise to the claims occurred in the State of
Arizona within this District.

9. The United States District Court for the District of Arizona has personal
jurisdiction because Defendant conducts business within this District and the actions giving
rise to this Complaint occurred in this District.

10.  Atall relevant times, Defendant has been an “employer” engaged in interstate
“commerce” and/or in the production of “goods” for “commerce” within the meaning of the
FLSA, 29 U.S.C. § 203.

11. Plaintiff and the other similarly situated Direct Support Professionals are
employees as defined in 29 U.S.C. § 203(e)(1), A.R.S. § 23-362(A), and A.R.S. § 23-350(2)
and are non-exempt employees under 29 U.S.C. § 213(a)(1).

 
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12. Atall relevant times, Defendant was an employer as defined by 29 U.S.C. §
203(d), A.R.S. § 23-362(B), and A.R.S. § 23-350(3) and a “person” under 29 U.S.C. §
213(a)(1).

13. At all relevant times, Defendant employed Direct Support Professionals to
provide caregiving services to individuals with disabilities in Arizona, including Plaintiff
Deion Anthony and those persons similarly situated to Plaintiff who are members of the
putative collective action and class action classes (collectively referred to as “Direct Support
Professionals”).

14. Atall relevant times, Plaintiff and the other members of the putative classes
were engaged in commerce and/or worked for Defendant in an enterprise engaged in
commerce.

15.  Atall relevant times, Defendant has been engaged in interstate commerce and
has been an enterprise whose gross annual volume of sales made or business done is greater
than $500,000.

PARTIES

16. Defendant Rise Services Inc. dba Rise Inc. is an Arizona corporation with its
headquarters and principal place of business located at 4554 E. Inverness Avenue, Mesa,
Arizona 85206.

17. Defendant Rise Services Inc. is a Utah Corporation with its headquarters and
principal place of business located at 1358 W. Business Park Drive, Orem, Utah 84058.

18. Defendant Rise Services, Inc. dba Rise Inc., the Arizona corporation, and
Defendant Rise Services, Inc., the Utah corporation, exercise their authority to control the
day-to-day operations of the business where Plaintiff and the Direct Support Professionals
work, including matters related to setting and paying compensation to the Direct Support
Professionals, such that they are liable to Plaintiff and the Direct Support Professionals as

an employer.

 
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19. Rise Services was founded in 1987 and provides caregiving services for
children, adults, and families throughout Arizona, as well as other states including Utah,
Oregon, Texas, and Idaho.

20. Through its Direct Support Professionals like Plaintiff, Rise Services provides
services for people with disabilities including providing caregiving in residential settings
and day programs and providing employment assistance, management care, and hourly
supports.

21. Plaintiff Anthony was, at all relevant times, an individual residing in the
Phoenix, Arizona metropolitan area.

22. At all relevant times, Plaintiff Anthony was employed by Rise Services in
Arizona as a Direct Support Professional, an hourly, non-exempt position. Plaintiff
Anthony’s Consent to be a Named Plaintiff and Opt-In to Lawsuit pursuant to 29 U.S.C. §
216(b) is attached hereto as Exhibit 1.

STATEMENT OF FACTS

23. Defendant Rise Services is an “employer” within the meaning of the FLSA,
the Arizona Minimum Wage Statute, and the Arizona Wage Statute.

24. Defendant operates numerous caregiving facilities throughout Arizona, hiring
Direct Support Professionals like Plaintiff to provide caregiving services at numerous
locations throughout the State of Arizona including Chinle, Kingman, Lake Havasu City,
Mesa, Queen Creek, Sierra Vista, Surprise, Tucson, and Yuma.

25. Plaintiff was employed by Rise Services as a Direct Support Professional
from September 2, 2021 until January 23, 2022. He worked for Defendant at its caregiving
facility in the Phoenix metropolitan area.

26. During his typical week, Plaintiff was scheduled to work Monday through
Friday from 2pm until 11pm.

27. | However, due to the nature of his work and additional staffing needs from
Rise Services, Plaintiff was often scheduled to work on Saturdays and Sundays from 9am
until 11pm in addition to his regularly scheduled shift from Monday through Friday.

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28. Defendant failed to pay Plaintiff all the wages he was due for the hours he
worked, including regular wages, minimum wage, and overtime wages.

I. Rise Services Was Obligated To Pay Plaintiff And The Direct Support

Professionals Certain Compensation For Their Work Performed

29. Plaintiff was employed as a non-exempt Direct Support Professional and was
paid an hourly rate during his employment. Plaintiff's hourly pay rate during his
employment ranged from $12.25 per hour to $13.50 per hour. During his most recent pay
periods, he was paid an hourly rate of $13.50 per hour, but he was promised a raise to
$14.75, which was to take effect February 1, 2022.

30. In addition to his regular hourly rates, Plaintiff was supposed to be
compensated for hazard pay when an individual he was providing caregiving services for
tested positive for COVID-19 at a hazard pay rate of $20.25 per hour.

31. Plaintiff was also supposed to be paid a holiday rate of time and a half his
regular rate of pay when he worked on a holiday. For example, when he worked a holiday
during the time period in which he was paid a regular hourly rate of $13.50, he was to be
paid $20.25 per hour for work performed on holidays.

32. Plaintiff also had a reasonable expectation to receive a non-discretionary
bonus, which Defendant had a policy and practice of paying other Direct Support
Professionals.

33. Defendant also required Direct Support Professionals to complete mandatory
training. For Plaintiff and other similarly situated Direct Support Professionals, the required
training was integral and indispensable to their jobs as Direct Support Professionals and
required by Defendant. The Direct Support Professionals like Plaintiff were required to
complete computer training modules regarding the essential functions of their jobs,
including training about safety practices associated with their work as caregivers.

34. Defendant promised to pay the Direct Support Professionals for time spent
training. In fact, Rise Services advertises for Direct Support Professionals in Arizona and
states in the job advertisement that the employees are “paid for training.” Management also

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promised Plaintiff and the Direct Support Professionals that they would be paid for training
during the course of their employment, including in communications made to the Direct
Support Professionals during their employment.

II. Rise Services Routinely And Consistently Failed To Pay The Direct Support

Professionals Like Plaintiff All The Compensation They Were Due

A, Unpaid Hazard Pay

35. Plaintiff and the Direct Support Professionals were promised hazard pay at a
rate of $20.25 when they had to work with a patient who tested positive for COVID-19.

36. However, Rise Services routinely and consistently failed to pay the Direct
Support Professionals like Plaintiff the hazard pay they were due.

37. For example, from January 1, 2022 until January 10, 2022, Plaintiff worked
190.53 hours with patients who had tested positive for COVID-19 and was therefore due
hazard pay at a rate of $20.25 per hour for those hours.

38.  Plaintiffreceived his paycheck on January 21, 2022 for the period of January
1, 2022 until January 15, 2022, which includes the period in which he was due hazard pay.

39. During that pay period, Plaintiff was paid $13.50 per hour for 80 hours of
regular time, $20.25 for 40.90 hours of overtime, and $20.25 for 13.10 hours of holiday
time.

40. _ Rise Services failed to pay Plaintiff for any hazard pay he had earned from
working 190.53 hours with individuals who had tested positive for COVID-19.

41. Plaintiff raised the issue of Rise Services’ failure to pay him the hazard pay
he was due, which resulted in the Company paying him hazard pay for 140.53 hours five
days late on January 26, 2022.

42. Critically, Rise Services failed to pay Plaintiff hazard pay for numerous hours
he worked, including 50 hours during the pay period from January 1, 2022 until January 15,
2022.

 
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B. Unpaid Training Pay

43. The Direct Support Professionals like Plaintiff were routinely told that they
must complete the mandatory training, and if they failed to do so, Rise Services
communicated that they would withhold their pay or terminate their employment.

44. Asaresult, Plaintiff and the Direct Support Professionals routinely completed
hours of training per week to comply with Defendant’s training requirements, but Defendant
failed to pay them for this time.

45. For example, Plaintiff completed at least six hours of training off the clock
during the typical week, but Rise Services never paid Plaintiff for the time he worked
completing the mandatory training modules.

46. Plaintiff and the Direct Support Professionals completed the mandatory
training at home using their personal internet devices.

47. They could not complete their training during their regularly scheduled shifts,
because that would take away from the caregiving services they were required to provide
Rise Services’ clients in a safe and attentive manner.

48. The unpaid training time that Defendant required Plaintiff and other similarly
situated Direct Support Professionals to work off the clock routinely caused Plaintiff and
other similarly situated Direct Support Professionals not to be paid all the wages they were
due.

C. Unpaid Bonuses

49. Plaintiff learned that Direct Support Professionals receive non-discretionary
bonuses as part of their regular compensation.

50. The bonuses were paid in addition to the hazard pay the Direct Support
Professionals were supposed to receive.

51. They were designated as a “bonus” on the Direct Support Professionals’
Earnings Statements.

52. Plaintiff learned from management and another Direct Support Professional

that a bonus had been paid out.

 
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53. Plaintiff had a reasonable expectation to receive all the bonuses he was due
for his work providing care just as the other Direct Support Professional had.

54. However, Plaintiff only received one bonus of $65.18 for the pay period of
October 16, 2021 until October 31, 2021 designated on his pay statement as a “COVID
BONUS.”

55. Plaintiff was never paid any other bonuses that other Direct Support
Professionals were paid and Plaintiff had also earned.

D. Unpaid Minimum Wage

56. Employees like Plaintiff and the Direct Support Professionals in Arizona must
be paid the minimum wage, which in 2019 was $11 per hour, in 2020 was $12 per hour, in
2021 was $12.80 per hour, and in 2022 is $12.80 per hour.

57. Rise Services had a policy and practice of routinely requiring Direct Support
Professionals like Plaintiff to work off the clock.

58. Direct Support Professionals like Plaintiff are routinely required to work at
least 6 hours off the clock per week completing mandatory training.

59. | When accounting for the hours Plaintiff and the Direct Support Professionals
are actually required to work, including the time they are required to work off the clock
completing training, Plaintiff and the Direct Support Professionals’ wages routinely fall
below the minimum wage.

60. For example, Plaintiffs pay statement for the period of October 1, 2021
through October 15, 2021 indicates that he worked 76.02 hours and was paid gross wages
in the amount of $1,024.06. However, Plaintiffs hours do not account for work performed
off the clock, including the 6 hours of training he worked during the typical week. Taking
into account the amount of time Plaintiff actually worked this week including the 6 hours
of training, Plaintiff worked 88.02 hours for $1,024.06 and was therefore paid $11.63 per
hour, which is below the minimum wage.

61. Similarly, Plaintiff's pay statement for the period of December 1, 2021 until
December 15, 2021 indicates that he worked 73.77 hours and was paid a gross amount of

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$951.94. However, Plaintiff's hours do not account for work performed off the clock,
including the 6 hours of training he worked during the typical week. Taking into account
the amount of time Plaintiff actually worked this week including the 6 hours of training,
Plaintiff worked 85.77 hours for $951.94 and was therefore paid $11.09 per hour, which is
below the minimum wage.

62. These examples of Plaintiff's wages falling below the minimum wage are
indicative of how he and the Direct Support Professionals were paid wages less than what
is required by law.

E. Unpaid Compensation including Overtime and Incorrect Overtime Rate

Calculation

63. Plaintiff and the Direct Support Professionals routinely worked overtime by
working more than 40 hours per week, but Rise Services failed to pay them all the overtime
hours they earned and were due.

64. Plaintiff and the Direct Support Professionals were also routinely denied
wages due under the Arizona Wage Statute.

65. For example, Plaintiff and the Direct Support Professionals routinely worked
unpaid hours of mandatory training for which they should have been compensated, and
which many times caused Plaintiff and the Direct Support Professionals to work unpaid
time including hours over 40 hours in a week resulting in numerous hours of unpaid
overtime.

66. As hourly, non-exempt employees, Plaintiff and other similarly situated
Direct Support Professionals were promised an hourly rate by Defendant for all hours
worked in each workweek, and those wages were timely due to Plaintiff and other similarly
situated Direct Support Professionals pursuant to the Arizona Wage Statute.

67. In addition, when Defendant did pay overtime, Defendant calculated their
overtime rate based on their regular hourly rate without accounting for their other

compensation like hazard pay, holiday pay premiums, and non-discretionary bonuses.

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68. By failing to take into account their total compensation in calculating
Plaintiff's and the Direct Support Professionals’ overtime rate, including hazard pay,
holiday pay, and non-discretionary bonuses, Defendant violated the FLSA.

69. As hourly, non-exempt employees, Plaintiff and the other similarly situated
Direct Support Professionals are or were entitled to overtime premiums for hours worked
in excess of forty (40) each workweek. Their overtime rate must be based on their regular
rate of pay, which must include their total compensation of their regular hourly rate, hazard
pay, holiday pay premium, and non-discretionary bonuses.

70. For example, Plaintiff's pay statement for the period of January 1, 2022 until
January 15, 2022 indicates that he worked 80 hours of regular time, 40.90 hours of overtime,
and 13.10 hours of holiday time. Plaintiff was paid his regular hourly rate of $13.50 for his
regular time and time and a half that regular hourly rate for overtime that was a paid at a
rate of $20.25 per hour. However, Plaintiff also worked 13.10 hours of holiday time at a
pay rate of $20.25 for a total of $265.28, which was not factored into his regular rate of pay
resulting in the incorrect overtime rate.

71. In addition, from January 1, 2022 until January 10, 2022, Plaintiff worked
190.53 hours for which he should have been paid hazard pay in the amount of $20.25 per
hour. Defendant failed to pay him all the hazard pay he was due and failed to account for
the hazard pay earned into his overtime rate for that pay period.

72. Defendant’s failure to pay the proper overtime rate or for all the overtime
hours worked was not an isolated practice.

73. For example, from December 1, 2021 until December 15, 2021, Plaintiff's
pay statement indicates that his regular rate was $12.80 per hour and he worked 1.2 hours
of overtime during that pay period. However, the number of hours of overtime worked fails
to account for the 6 hours of unpaid training time Plaintiff worked during the typical week,
causing him not to be paid all the overtime hours he worked.

74.  Inaddition, Plaintiff's pay statements indicate that he was only paid overtime
at time and a half his hourly rate. Rise Services never properly accounted for his total

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compensation, which includes hazard pay, holiday pay premiums, and non-discretionary

bonuses as required by the FLSA.

75. Defendant’s policy and practice requiring Plaintiff and other similarly situated
Direct Support Professionals to work off the clock, including training time, denied them
both straight time, minimum wage, and overtime pay.

76. The pay periods identified in this Complaint are indicative of how Plaintiff
was typically paid in a manner that caused him not to receive minimum wage, overtime and
regular wages he earned and was due under the FLSA, the Arizona Minimum Wage Statute,
and the Arizona Wage Statute.

77. Defendant failed to timely pay Plaintiff for all the wages he was due for work
he performed, including regular wages, minimum wage, and overtime.

78. In addition, when Plaintiff was paid overtime, Defendant failed to pay the
correct overtime rate by factoring in his total compensation including hazard pay, holiday
pay premiums, and non-discretionary bonuses.

79. A significant part, if not all, of this unpaid straight time, minimum wage, and
overtime work is evidenced in Defendant’s own payroll, time-recording, and attendance
records, most of which are exclusively in Defendant’s own possession.

III. Rise Services’ Compensation Policies And Practices Are Willful And Result In
Violations Of The FLSA, The Arizona Minimum Wage Statute, And The
Arizona Wage Statute
80. Defendant’s policy and practice is to willfully deny its hourly, non-exempt

Direct Support Professionals pay for all hours worked, including regular hours, minimum

wage, and overtime worked beyond forty (40) in a workweek.

81. Upon information and belief, Defendant applied and instituted the above-
described willful and illegal policies and practices regarding not paying for all hours
worked, failing to account for total compensation in the overtime rate, and failing to pay all

wages due including the overtime and minimum wage, at all of Defendant’s sites in Arizona.

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82. As a result of its policies, Defendant fails to pay straight time wages,
minimum wage, and overtime to save payroll costs and taxes. Defendant enjoys ill-gained
profits at the expense of Plaintiff and other similarly situated Direct Support Professionals.

83. In fact, an employee of Rise Services filed a complaint with the Arizona
Industrial Commission Department of Labor in December 2021, complaining that Rise
Services had irregular pay periods and paid employees late in violation of the Arizona Wage
Statute.

84. Despite that complaint, Rise Services recklessly disregarded the law and
continued to pay its Direct Support Professionals the wages they had earned late and
continued to reduce their wages below the amounts they were entitled to.

85. During his employment, Plaintiff spoke with other Direct Support
Professionals who worked at various locations in Arizona about Defendant’s unlawful pay
policies, learning that they also were subject to the same unlawful pay practices that he was
experiencing.

86. In January 2022, Plaintiff complained to management about Rise Services
unlawful pay practices, including its failure to pay wages due resulting in unpaid wages,
minimum wage, and overtime.

87. As part of those complaints, Plaintiff told management that he would pursue
his unpaid wages with the Department of Labor if Rise Services continued to unlawfully
withhold his wages.

IV. Rise Services Retaliated Against Plaintiff For His Complaints Regarding Rise

Services’ Compensation Policies And Practices

88. On January 21, 2022, the same day he was supposed to receive a significant
amount of hazard pay, Plaintiff became even more direct in his complaints about unpaid
wages. He complained to his supervisor that his check was shorted numerous hours of
hazard pay, which resulted in unpaid wages under the Arizona Wage Statute and unpaid

wages under the FLSA.

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89. ‘Plaintiff also informed management that wage theft was illegal, that he should
be paid all the wages he was due, and that he would go to the Department of Labor if Rise
Services failed to pay him for all his wages.

90. On that same day that Plaintiff complained about the unpaid wages to his
supervisor, for the first time management took issue with his job performance.

91. Other management personnel became concerned that Plaintiff would quit his
job because of the complaints about his job performance on January 21, 2022. In an effort
to deter Plaintiff from quitting, management contacted Plaintiff on January 22, 2022 and
said that he would be receiving a raise to $14.75 effective February 1, 2022.

92. | However, other supervisors in management at Rise Services were still upset
that Plaintiff complained about unpaid wages, including compensation policies and
practices that led to violations of the FLSA, the Arizona Wage Statute, and Arizona
Minimum Wage Statute.

93. Inretaliation for and as a direct and proximate result of Plaintiff's complaints
relating to unpaid wages, minimum wage, and overtime and Defendant’s failure to comply
with the law and policy of the Arizona Wage Statute, Defendant terminated Plaintiff's
employment at Rise Services on January 23, 2022.

94. Despite complaints about Defendant’s wage violations, Defendant did not
investigate the allegations and did not modify its unlawful pay practices, which Defendant
willfully continues.

95. Defendant’s adverse employment action against Plaintiff was unlawful
retaliation for Plaintiff's complaints about Defendant’s unlawful wage practices resulting in
unpaid minimum wage and overtime and violations of Arizona law and public policy arising
from the obligation to timely pay wages due under the Arizona Wage Statute.

96. Defendant’s adverse employment actions were malicious and punitive in
nature and caused Plaintiff both economic and non-economic damages, including lost

wages, emotional distress, embarrassment, and other damages.

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COLLECTIVE ACTION ALLEGATIONS

97. Plaintiff Anthony brings Count I and II, the FLSA unpaid overtime and
minimum wage claims, pursuant to 29 U.S.C. § 216(b) on behalf of himself and the
following similarly situated employees of Defendant:

All Direct Support Professionals who worked for Rise Services Inc. dba Rise Inc. in

Arizona during the last three years (“Collective Action Members”).

98. Plaintiff, on behalf of himself and all other similarly situated Direct Support
Professionals, seeks relief on a collective basis challenging Defendant’s practice of failing
to accurately record work time and pay its employees for all hours worked, including
overtime, at the proper overtime rate and failing to pay them the minimum wage for all
hours worked. The number and identity of other individuals yet to opt-in and consent to
join the collective action may be determined from Defendant’s records and potential
Collective Action Members may easily and quickly be notified of the pendency of this
action.

99. ‘Plaintiff is similarly situated to the Collective Action Members because they
are all subject to similar payroll policies and procedures. Defendant requires the similarly
situated Collective Action Members to work overtime but fails to pay them for all hours
worked, including overtime resulting from unpaid training time. Defendant also fails to
pay the similarly situated Collective Action Members the proper overtime rate, because their
regular rate of pay fails to account for their total compensation including hazard pay, non-
discretionary bonuses, and holiday pay. Defendant also fails to pay the Collective Action
Members the minimum wage for all hours worked. The Collective Action Members are also
similarly situated because they all utilize Defendant’s time recording and reporting
practices, which fail to accurately account and pay for all time worked including overtime
and fails to account for overtime at the legally required rate.

100. Defendant’s overtime and minimum wage practices were routine and

consistent. Throughout the relevant time period over the past three years, the Collective

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Action Members regularly were not paid the proper minimum wage and overtime despite
working in excess of forty hours per week.

101. Plaintiff and the Collective Action Members performed the same or similar
job duties. Moreover, they regularly worked more than forty hours in a workweek.
Accordingly, the employees victimized by Defendant’s unlawful pattern and practices are
similarly situated to Plaintiff in terms of employment and pay provisions.

102. Defendant’s failure to pay overtime and minimum wage compensation at the
rates required by the FLSA result from generally applicable policies or practices and do not
depend on the personal circumstances of the members of the collective action. Thus,
Plaintiff's experience is typical of the experience of the others employed by Defendant.

103. The Collective Action Members, including Plaintiff, regardless of their
precise job requirements or rates of pay, are entitled to overtime compensation for hours
worked in excess of forty (40) and the minimum wage. Although the issue of damages may
be individual in character, there is no detraction from the common nucleus of facts
pertaining to liability.

104. Plaintiff will fairly and adequately protect the interests of the Collective
Action Members and has retained counsel experienced and competent in the practice of
wage and hour law and class action litigation. Plaintiff has no interest that is contrary to or
in conflict with the putative members of this collective action.

CLASS ACTION ALLEGATIONS

105. Plaintiff brings Count III and Count IV, the Arizona Minimum Wage Statute
and Arizona Wage Statute claims, as a Rule 23 class action on behalf of himself and the
following persons:

All Direct Support Professionals who worked for Rise Services Inc. dba Rise

Inc. in Arizona from February 18, 2019 to the present (“Arizona Class

Members”).

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106. Plaintiff's Rule 23 class claims (Count III and Count IV) satisfies the
numerosity, commonality, typicality, adequacy, and superiority requirements of a class
action pursuant to Fed. R. Civ. P. 23.

107. Plaintiff's Rule 23 state law class claim (Count III and Count IV) satisfies the
numerosity requirement of a class action. The Arizona Class Members identified above are
so numerous that joinder of all members is impracticable. Although the precise number of
potential class members is unknown, and the facts for calculating that number are presently
within the sole control of Defendant, upon information and belief, there are hundreds of
Arizona Class Members.

108. Questions of law and fact common to the Arizona Class Members
predominate over questions that may affect only individual members because Defendant
has acted on grounds generally applicable to all Arizona Class Members. Among the
questions of law and fact common to Plaintiff and the Arizona Class Members are:

a. whether Defendant employed the Arizona Class Members within the meaning

of the Arizona Minimum Wage Statute and the Arizona Wage Statute;

b. whether Defendant owes the Arizona Class Members wages in exchange for
all work performed, including training time, hazard pay, bonuses, overtime,
and holiday pay;

c. whether Defendant unlawfully failed to timely pay Arizona Class Members
wages for all hours worked, including training time, hazard pay, bonuses, and
overtime;

d. whether Defendant is liable for damages under the Arizona Wage Statute,
including but not limited to compensatory damages, interest, and treble
damages;

e. whether Defendant unlawfully failed to pay Arizona Class Members the
minimum wage;

f. whether Defendant is liable for damages under the Arizona Minimum Wage
Statute.

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109. Plaintiff's claims under Arizona state law are typical of those of the Arizona
Class Members’ in that class members have been employed in the same or similar positions
as Plaintiff and were subject to the same or similar unlawful payroll practices as Plaintiff.

110. The common questions set forth above predominate over any questions
affecting only individual persons, and a class action is superior with respect to
considerations of consistency, economy, efficiency, fairness, and equity to other available
methods for the fair and efficient adjudication of the state law claims.

111. A class action is appropriate for the fair and efficient adjudication of this
controversy. Defendant acted or refused to act on grounds generally applicable to the entire
class. The presentation of separate actions by individual class members could create a risk
of inconsistent and varying adjudications, establish incompatible standards of conduct for
Defendant, and/or substantially impair or impede the ability of the class members to protect
their interests. The damages suffered by individual class members may be relatively small,
and the expense and burden of individual litigation make it virtually impossible for the
members of the class action to individually seek redress for the wrongs done to them.

112. Plaintiff will fairly and adequately represent the interests of the Arizona Class
Members and has retained counsel that is experienced and competent in the fields of wage
and hour law and class action litigation. Plaintiff has no interest that is contrary to or in

conflict with those members of this class and collective action.

COUNT I
COLLECTIVE ACTION FOR VIOLATION OF THE
FAIR LABOR STANDARDS ACT
(Failure to Properly Pay Overtime Wages and Record Keeping Violations - FLSA -
29 U.S.C. § 207 et seq.; Brought Against Defendant by Plaintiff Anthony Individually
and on Behalf of the Collective Action Members)

113. Plaintiff, on behalf of himself and all Collective Action Members, reasserts

the allegations set forth in the above paragraphs.

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114. Defendant paid Plaintiff and the Collective Action Members on an hourly
basis, and they were and are all entitled to the overtime protections of the Fair Labor
Standards Act as set forth in 29 U.S.C. §§ 201, et seq.

115. At all relevant times, Defendant has been, and continues to be, subject to the
minimum wage and overtime provisions of the FLSA because its employees are engaged in
commerce and Defendant has annual revenues in excess of $500,000.

116. Plaintiff and the Collective Action Members are non-exempt employees
entitled to the statutorily mandated overtime pay according to the FLSA.

117. Defendant was an employer pursuant to 29 U.S.C. § 203(d).

118. Defendant failed to comply with 29 U.S.C. § 207 because Plaintiff and the
Collective Action Members worked for Defendant in excess of forty hours per week, but
Defendant failed to pay them for those excess hours at the statutorily required rate of one
and one-half times their regular rate of pay as required by the FLSA.

119. Plaintiff and other similarly situated Direct Support Professionals performed
work causing them to work in excess of forty (40) hours in certain workweeks.

120. This work was performed at Defendant’s direction and/or with Defendant’s
knowledge.

121. Defendant willfully violated the FLSA by failing to pay Plaintiff and the other
Collective Action Members all wages due including overtime premiums for all hours
accrued beyond forty (40) in a workweek.

122. Defendant has acted neither in good faith nor with reasonable grounds to
believe that its actions and omissions complied with the FLSA.

123. At all relevant times, Defendant willfully, regularly, and repeatedly failed,
and continues to fail to make, keep, and preserve accurate time records required by the
FLSA with respect to Plaintiff and the other similarly situated Direct Support Professionals,
including records determining the wages and hours of employment pertaining to Plaintiff

and the similarly situated Direct Support Professionals.

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124. Asa result of the willful violations of the FLSA’s overtime pay provisions,

Defendant has unlawfully withheld overtime wages from Plaintiff and Collective Action

Members. Accordingly, Defendant is liable to Plaintiff and the Collective Action Members

for unpaid wages including overtime compensation, an additional equal amount as

liquidated damages, pre-judgment and post-judgment interest, reasonable attorneys’ fees,

and costs of this action.

WHEREFORE, Plaintiff and all similarly situated employees demand judgment

against Defendant, and pray this Court:

a.

Certify the claim set forth in Count I above as a collective action
pursuant to Section 216(b) of the FLSA and issue notice to all
similarly-situated hourly, non-exempt Direct Support Professionals,
who worked for Defendant during the last three years in Arizona,
informing them of their right to file consents to join the FLSA portion
of this action;

Designate Plaintiff Anthony as the Representative Plaintiff of the
Collective Action and undersigned counsel as the attorneys
representing the Collective Action Members;

Award Plaintiff and all similarly situated employees compensatory and
liquidated damages under 29 U.S.C. § 216(b);

Award Plaintiff and all similarly situated employees prejudgment and
post-judgment interest as provided by law;

Award Plaintiff and all similarly situated employees attorneys’ fees
and costs as allowed by Section 216(b) of the FLSA, including that
Defendant is financially responsible for notifying the Collective
Action Members of Defendant’s alleged wage and hour violations; and
Award Plaintiff and all similarly situated employees such other relief

as this Court deems fair and equitable, including injunctive relief.

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COUNT I
COLLECTIVE ACTION FOR VIOLATION OF THE
FAIR LABOR STANDARDS ACT
(Failure to Properly Pay Minimum Wage and Record Keeping Violation — FLSA —
29 U.S.C. § 206 et seq.; Brought Against Defendant by Plaintiff Anthony Individually
and on Behalf of the Collective Action Members)

125. Plaintiff, on behalf of himself and the Collective Action Members, reasserts
the allegations set forth in the above paragraphs.

126. Defendant paid Plaintiff and the Collective Action Members on an hourly
basis, and they are and were all entitled to the minimum wage protections of the FLSA as
set forth in 29 U.S.C. §§ 201, et seq.

127. At all relevant times, Defendant has been, and continues to be, subject to the
minimum wage and overtime provisions of the FLSA because its employees are engaged in
interstate commerce and Defendant has annual revenues in excess of $500,000.

128. Plaintiff and the Collective Action Members are non-exempt employees
entitled to the statutorily mandated minimum wage.

129. Defendant was an employer pursuant to 29 U.S.C. § 203(d).

130. Defendant failed to comply with 29 U.S.C. § 206 because Defendant failed to
pay Collective Action Members the minimum wage as required by the FLSA.

131. The work was performed at Defendant’s direction and/or with Defendant’s
knowledge.

132. Defendant willfully violated the FLSA by failing to pay Plaintiff and the other
Collective Action Members all the minimum wage due.

133. Defendant has acted neither in good faith nor with reasonable grounds to
believe that its actions and omissions complied with the FLSA.

134. As aresult of the aforesaid willful violations of the FLSA’s minimum wage
pay provisions, Defendant has unlawfully withheld minimum wages from Plaintiff and the
Collective Action Members. Accordingly, Defendant is liable to Plaintiff and the Collective

Action Members for unpaid wages including minimum wage compensation, an additional

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equal amount in liquidated damages, pre-judgment and post-judgment interest, reasonable
attorneys’ fees, and costs of this action.

WHEREFORE, Plaintiff and all similarly situated employees demand judgment
against Defendant, and pray this Court:

a. Certify the claim set forth in Count II above as a collective action
pursuant to Section 216(b) of the FLSA and issue notice to all
similarly-situated hourly employees, regardless of actual title, who
worked for Defendant as Direct Support Professionals in Arizona
during the last three years, informing them of their right to file consents
to join the FLSA portion of this action;

b. Designate Plaintiff Anthony as the Representative Plaintiff of the
Collective Action and undersigned counsel as the attorneys
representing the Collective Action Members;

Cc. Award Plaintiff and all similarly situated employees compensatory and
liquidated damages under 29 U.S.C. § 216(b);

d. Award Plaintiff and all similarly situated employees prejudgment and
post-judgment interest as provided by law;

e. Award Plaintiff and all similarly situated employees attorneys’ fees
and costs as allowed by Section 216(b) of the FLSA, including that
Defendant is financially responsible for notifying the Collective
Action Members of Defendant’s alleged wage and hour violations; and

f. Award Plaintiff and all similarly situated employees such other relief

as this Court deems fair and equitable, including injunctive relief.

COUNT It
FED.R.CIV.P. 23 CLASS ACTION FOR VIOLATION OF THE
ARIZONA MINIMUM WAGE STATUTE
(Failure to Pay Minimum Wage, A.R.S. § 23-362 et seg.; Brought Against Defendant
by Plaintiff Anthony Individually and on Behalf of the Arizona Class Members)

135. Plaintiff, on behalf of himself and the Arizona Class Members, reasserts the

allegations set forth in the above paragraphs.
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136. At all material times hereto, Plaintiff and the Arizona Class Members were
employed by Defendant within the State of Arizona and have been entitled to the rights,
protections, and benefits provided under the Arizona Minimum Wage Statute.

137. Plaintiff and the similarly situated employees were entitled to the minimum
wage as defined by A.R.S. § 23-363.

138. Defendant was an employer pursuant to A.R.S. § 23-362(B).

139. Defendant is aware that, under A.R.S. § 23-363, it was obligated to pay
minimum wage due to Plaintiff and the Arizona Class Members.

140. Defendant failed to pay Plaintiff and the Arizona Class Members minimum
wage due without a good faith basis for withholding wages.

141. Defendant has willfully failed and refused to pay minimum wage due to
Plaintiff and the Arizona Class Members. As a result of Defendant’s unlawful acts, Plaintiff
and the Arizona Class Members are entitled to the statutory remedies pursuant to A.R.S. §
23-364, including the balance of wages owed, interest thereon, an additional amount equal
to twice the underpaid wages, and attorneys’ fees and costs.

142. The state law claim, if certified for class-wide treatment, may be pursued by
all similarly situated persons who do not opt out of the Class.

WHEREFORE, Plaintiff and all similarly situated employees demand judgment
against Defendant and pray this Court:

a. Certify the state law claim set forth in Count III above as a class action
pursuant to Rule 23 of the Federal Rules of Civil Procedure;

b. Designate Plaintiff Anthony as the Class Representative of the Arizona
Class Members and undersigned counsel as the attorneys representing
the Arizona Class Members;

Cc. Award Plaintiff and all similarly situated employees compensatory
damages and statutory damages, plus costs and attorneys’ fees, and all

available remedies pursuant to A.R.S. § 23-364;

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d. Award Plaintiff and all similarly situated employees prejudgment and
post-judgment interest as provided by law; and
e. Award Plaintiff and all similarly situated employees such other relief

as this Court deems fair and equitable, including injunctive relief.

COUNT IV
FED.R.CIV.P. 23 CLASS ACTION FOR VIOLATION OF THE
ARIZONA WAGE STATUTE
(Failure to Timely Pay Wages Due, A.R.S. § 23-350 et seg.; Brought Against
Defendant by Plaintiff Anthony Individually and on Behalf of the
Arizona Class Members)

143. Plaintiff, on behalf of himself and the Arizona Class Members, reasserts the
allegations set forth in the above paragraphs.

144. At all material times hereto, Plaintiff and the Arizona Class Members were
employed by Defendant within the State of Arizona and have been entitled to the rights,
protections, and benefits provided under the Arizona Wage Statute.

145. Defendant was aware of its obligation to pay timely wages pursuant to A.R.S.
§ 23-351.

146. Defendant is aware that, under A.R.S. §§ 23-351-353, it was obligated to
timely pay all wages due to Plaintiff and the Arizona Class Members, including regular
wages and overtime.

147. Defendant failed to timely pay Plaintiff and the Arizona Class Members
wages he was due without a good faith basis for withholding wages.

148. Defendant has willfully failed and refused to timely pay wages due to Plaintiff
and the Arizona Class Members. As a result of Defendant’s unlawful acts, Plaintiff and the
Arizona Class Members are entitled to the statutory remedies provided pursuant to A.R.S.
§ 23-355.

149. The state law claim, if certified for class-wide treatment, may be pursued by
all similarly situated persons who do not opt out of the Class.

WHEREFORE, Plaintiff and all similarly situated employees demand judgment
against Defendant and pray this Court:

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a. Certify the state law claim set forth in Count IV above as a class action
pursuant to Rule 23 of the Federal Rules of Civil Procedure;

b. Designate Plaintiff Anthony as the Class Representative of the Arizona
Class Members and undersigned counsel as the attorneys representing
the Arizona Class Members;

Cc. Award Plaintiff and all similarly situated employees compensatory
damages and treble damages, plus costs and attorneys’ fees, and all
available remedies pursuant to A.R.S. § 23-350 et seq.;

d. Award Plaintiff and all similarly situated employees prejudgment and
post-judgment interest as provided by law; and

e. Award Plaintiff and all similarly situated employees such other relief
as this Court deems fair and equitable, including injunctive relief.

COUNT V
FLSA RETALIATION IN VIOLATION OF 29 U.S.C. § 15(a)(3)
(Brought Against Defendant by Plaintiff Anthony Individually)
150. Plaintiff, on behalf of himself, reasserts the allegations set forth in the above
paragraphs.
151. The Fair Labor Standards Act prohibits any person from discharging or in any

other manner discriminating against any employee who complains of a violation of the Act
or causes to be instituted any proceeding under or related to the Act.

152. At all relevant times, Rise Services was an employer covered by the Fair
Labor Standards Act and Plaintiff was an employee covered by the Act.

153. Plaintiff engaged in protected activity when he complained to Defendant
about its unlawful failure to pay for all hours worked, resulting minimum wage and overtime
owed pursuant to the Fair Labor Standards Act, discussed Defendant’s unlawful failure to
pay for all hours worked, including overtime owed pursuant to the Fair Labor Standards

Act, with Defendant’s employees, and when he notified Defendant of its wage violations.

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154. Asa direct and proximate result of Plaintiff's complaints about Defendant’s
unlawful overtime and minimum wage practices, Defendant took the adverse employment
action of terminating Plaintiff.

155. Defendant acted in retaliation when it terminated Plaintiff from his job
because he engaged in protected activity by reporting violations of the Fair Labor Standards
Act.

156. There is a causal connection between Plaintiff engaging in the protected
activity and Defendant’s adverse employment action of terminating Plaintiff in that but for
the Plaintiff engaging in the protected activity, Defendant would not have terminated
Plaintiff's employment.

157. Plaintiffs protected activity was a motivating factor in the decision by
Defendant to terminate Plaintiff.

158. Defendant’s conduct was willful and Defendant’s actions were punitive,
malicious, and in direct retaliation for his complaints of FLSA violations.

159. As a direct and proximate result of Defendant’s retaliation, Plaintiff suffered
lost wages, emotional distress, embarrassment, and other economic and non-economic
losses.

160. Defendant’s conduct in taking adverse action against Plaintiff's employment
was done with ill will, spite, malice, for the purpose of injuring Plaintiff and with a complete
indifference of Plaintiffs rights.

161. Defendant’s conduct in taking adverse action toward Plaintiff's employment
harmed Plaintiff and was malicious, oppressive or in reckless disregard of his rights.
Defendant therefore should be required to respond to Plaintiff in the form of a punitive or
exemplary damage award under federal law.

WHEREFORE, Plaintiff demands judgment against Defendant and prays this Court:

a. Order Defendant to reinstate Plaintiff's employment to a reasonably
comparable employment position with comparable pay from which
Defendant removed him;

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b. Award Plaintiff compensatory and punitive damages, including lost
wages and non-economic damages flowing from Defendant’s unlawful
retaliation, plus an equal amount in liquidated damages and attorneys’
fees and costs;

c. Award Plaintiff prejudgment and post-judgment interest as provided
by law; and

d. Award Plaintiff such other relief as this Court deems fair and equitable,

including injunctive relief.

COUNT V1
WRONGFUL TERMINATION IN VIOLATION OF A.R:S. § 12-1501 et seq.
(Brought Against Defendant by Plaintiff Anthony Individually)

162. Plaintiff incorporates by reference all of the above allegations as though fully
set forth herein.

163. Defendant Rises Services Inc. dba Rise Inc.’s termination of Plaintiff violated
the statutes and public policy set forth in or arising out of Arizona statutes, including but
not limited to A.R.S. § 23-350 et seq., giving rise to a cause of wrongful termination under
A.R.S. § 23-1501 of the Arizona Employment Protection Act.

164. Rise Services’ termination of Plaintiff was in retaliation for Plaintiff’s
disclosure to Rise Services that it was violating the laws and public policy of this State by
failing to timely pay employees all the wages they were due in violation of the Arizona
Wage Statute, A.R.S. § 23-350 et seg., and public policy of this State to timely pay
employees for all hours worked.

165. Plaintiff made his disclosures to his employer and to representatives of his
employer who he reasonably believed were in supervisory and managerial position with the
authority to investigate and take action to prevent further violations.

166. Rise Services’ actions in terminating Plaintiff in the above fashion are
injurious to the public at large and violated public policy related to employees.

167. Asa direct and proximate result of unlawful termination of Plaintiff, Plaintiff

suffered financial harm including but not limited to past and future wage and benefit losses,
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economic disadvantages, mental pain, anguish, and suffering caused by the acts of Rise

Services.

168. Defendant’s conduct in taking adverse action toward Plaintiff's employment
harmed Plaintiff and was malicious, oppressive or in reckless disregard of his rights.
Defendant therefore should be required to respond to Plaintiff in the form of a punitive or
exemplary damage award.

WHEREFORE, Plaintiff demands judgment against Defendant and prays this Court:

a. Order Defendant to reinstate Plaintiff's employment to a reasonably
comparable employment position with comparable pay from which
Defendant removed him;

b. Award Plaintiff compensatory and punitive damages, including lost
wages and non-economic damages flowing from Defendant’s unlawful
retaliation, plus attorneys’ fees and costs;

Cc. Award Plaintiff prejudgment and post-judgment interest as provided
by law; and

d. Award Plaintiff such other relief as this Court deems fair and equitable,
including injunctive relief.

COUNT VII
WRONGFUL TERMINATION IN VIOLATION OF A.R.S. § 23-362 et seq.
(Brought Against Defendant by Plaintiff Anthony Individually)

169. Plaintiff incorporates by reference all of the above allegations as though fully
set forth herein.

170. At all relevant times, Rise Services was an employer under A.R.S. § 23-362

et seq. and Plaintiff was an employee under A.R.S. § 23-362 et seq. subject to the protections
of the Arizona Minimum Wage Statute.

171. Rise Services violated A.R.S. § 23-363 by failing to pay Plaintiff the
minimum wage as set forth in the statute.

172. Rise Services violated A.R.S. § 23-364(B) by terminating Plaintiff's

employment with Defendant within days after reporting minimum wage violations to
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management, including Plaintiff notifying management that he was going to raise the issue
of unpaid wages with the Department of Labor.

173. There is a presumption of retaliation as a result of the close temporal
proximity to Plaintiff's complaints relating to minimum wage and his termination. A.R.S.
§ 23-364(B).

174. “Any employer who fails to pay the wages required under this article shall be
required to pay the employee the balance of the wages owed, including interest thereon, and
an additional amount equal to twice the underpaid wages. Any employer who retaliates
against an employee or other person in violation of this article shall be required to pay the
employee an amount set by the commission or a court sufficient to compensate the employee
and deter future violations, but not less than one hundred fifty dollars ($150) for each day
that the violation continued or until legal judgment is final.” A.R.S. § 23-364(G).

175. As a direct and proximate result of Rise Services’ unlawful retaliation
resulting from Plaintiff's complaints related to unpaid minimum wage, Plaintiff has been
damaged and is entitled to recover damages sufficient to compensate him for the harm he
suffered and deter future violations, but not less than one hundred fifty dollars ($150) for
each day that the violation continued or until a legal judgment is final as well as Plaintiff's
attorneys’ fees and costs.

WHEREFORE, Plaintiff demands judgment against Defendant and prays this Court:

a. That liability be imposed on Defendant for its violations of the Arizona
Minimum Wage Statute;

b. Order Defendant to reinstate Plaintiff's employment to a reasonably
comparable employment position with comparable pay from which
Defendant removed him;

Cc. That Plaintiff be awarded compensatory damages, punitive damages,
and attorneys’ fees and costs pursuant to A.R.S. § 23-364(G), including
not less than one hundred fifty dollars ($150) for each day that the
violation continued or until legal judgment is final;

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d. Award Plaintiff compensatory and punitive damages, including lost
wages and non-economic damages flowing from Defendant’s unlawful
retaliation, plus attorneys’ fees and costs;

e. Award Plaintiff prejudgment and post-judgment interest as provided
by law; and

f. Award Plaintiff such other relief as this Court deems fair and equitable,
including injunctive relief.

DEMAND FOR JURY TRIAL
Plaintiff hereby demands a jury trial on all claims with respect to which he may have
the right to a jury.
DATED: February 18, 2022
YEN PILCH ROBAINA & KRESIN PLC
By__/s/Ty D. Frankel
Ty D. Frankel
6017 N. 15th Street
Phoenix, Arizona 85014
Telephone: (602) 682-6450
Facsimile: (602) 682-6455
YEN PILCH ROBAINA & KRESIN PLC
Patricia N. Syverson
9655 Granite Ridge Drive, Suite 200
San Diego, California 92123
Telephone: (619) 756-7748
Attorneys for Plaintiff

 

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